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     Counsel for Defendant, DOUGLAS STORMS YORK
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 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )             No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )             DEFENDANT’S MOTION IN LIMINE NO.
                                           )              3 TO PRODUCE GRAND JURY
14                                         )             TRANSCRIPTS
     vs.                                   )
15                                         )             Pretrial Conference: July 16, 2015
                                           )             Time: 2:00 p.m.
16                                         )
     DOUGLAS STORMS YORK,                  )             Trial Date: July 20, 2015
17                                         )
                       Defendant.          )
18   _____________________________________ )             Honorable Beth Labson Freeman

19

20           Defendant Douglas Storms York, by and through his counsel, submits the following motion

21   in limine in conformity with the Court’s pretrial order and Local Rule 47-2. This motion is based

22   upon the attached memorandum of points and authorities, all files and records in this case, and any

23   further evidence as may be adduced at the hearing on this motion. Mr. York reserves the right to

24   supplement this motion during the course of trial as needed.

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26   \\\

     Def.’s Motion In Limine No. 3
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 1                                               ARGUMENT

 2   I.      The Court Should Order Production of Grand Jury Transcripts

 3           The Court should order production of grand jury transcripts if a witness who likely will

 4   testify at the trial of Mr. York also is likely to have testified before the grand jury. Dennis v. United

 5   States, 384 U.S. 855 (1966); Fed. R. Crim. Proc. 26.2(f)(3). The defense requests that the

 6   government make such transcripts available in advance of trial to facilitate the orderly presentation

 7   of evidence and to remove any need for recess in the proceedings for defense counsel to examine

 8   the statements pursuant to Federal Rule of Criminal Procedure 26.2(d).

 9

10                                              CONCLUSION

11           For the foregoing reasons, and for such other reasons as may appear at the hearing on this

12   motion, Mr. York respectfully requests that the Court grant this motion, and accord such other relief

13   as this Court deems just. Mr. York requests leave to file further motions as may be necessary.

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15   Dated: July 2, 2015                                     Respectfully submitted,

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                                                             STEVEN G. KALAR
17                                                           Federal Public Defender

18
                                                                  s/
19                                                           GRAHAM ARCHER
                                                             Assistant Federal Public Defender
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     Def.’s Motion In Limine No. 3
     CR 15-00226 BLF                                    2
